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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 MARILYN JOHNSON, individually and             )
 as Administrator of the Estate of             )
 NORMAN JOHNSON, deceased,                     )
                                               )   Case No. 16-cv-144
                Plaintiff,                     )
                                               )   Judge John W. Darrah
        v.                                     )
                                               )
 COOK COUNTY SHERIFF, et al.,                  )
                                               )
                Defendants.                    )

                             MEMORANDUM OPINION AND ORDER

       On January 7, 2016, Plaintiff, Marilyn Johnson, individually and as the Administrator of

the Estate of Norman Johnson, filed her First Amended Complaint against Defendant Olufemi

Ajala and twenty-four other Defendants, alleging violations of the Civil Rights Act of 1871, 42

U.S.C. § 1983. Ajala has filed a Motion to Dismiss [51] claims against him pursuant to Federal

Rule of Civil Procedure 12(b)(6) for failure to state a claim for which relief can be granted. For

the reasons discussed below, the Motion to Dismiss [51] is granted.

                                        BACKGROUND

       The following facts are drawn from the First Amended Complaint (“FAC”) filed by

Plaintiff, Marilyn Johnson, and are accepted as true for purposes of the Motion to Dismiss. See

Reger Dev., LLC v. Nat’l City Bank, 592 F.3d 759, 763 (7th Cir. 2010).

       Plaintiff is the administrator of the estate of Norman Johnson (“Johnson”). On

January 3, 2014, Johnson was arrested and charged with the possession of a controlled substance.

(FAC ¶ 12.) Johnson was admitted to the Cook County Jail; and, on January 5, 2014, he

underwent a medical intake screening conducted by a team of medical professionals that
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included Defendant Olufemi Ajala (“Ajala”). (Id. ¶ 15-16, 19, 21.) Ajala was an employee or an

agent of Cermak Health Services or of Cook County. (Id. ¶ 11.)

       During the intake medical screening process, Johnson provided his history of having been

enrolled in a daily methadone treatment program for nine years, that his last dose of methadone

had been administered two days previously, and that he was experiencing symptoms of

methadone withdrawal. (Id. ¶ 20.) Plaintiff alleges that each of the members of the screening

team, including Ajala, knew or should have known that without continuation of his methadone

treatment regimen, Johnson was at high risk of cardiac arrest, respiratory depression and/or death

due to the effects of abrupt methadone withdrawal. (Id. ¶ 22.) Plaintiff alleges that Ajala failed

to provide Johnson with medication or treatment to avoid serious health risks caused by abrupt

methadone withdrawal. (Id. ¶ 23.)

       Johnson was assigned to housing in Division 2, Dorm 1 at the Cook County Jail, which

houses inmates with special medical or other needs and provides constant visual surveillance by

correctional officers. (Id. ¶ 26). On January 7, 2014, a Cook County Jail Officer found Johnson

having a seizure, a faint pulse, and agonal respiration. (Id. ¶ 30.) After CPR was begun and

emergency services notified, Johnson was taken by an ambulance and was pronounced dead on

arrival at St. Anthony Hospital. (Id. ¶¶ 35, 36.) Johnson’s autopsy determined that the cause of

death was related to methadone toxicity. (Id. ¶ 36.)

                                      LEGAL STANDARD

       Rule 12(b)(6) permits a defendant to move to dismiss a complaint for “failure to state a

claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a motion to

dismiss, a complaint must allege “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Threadbare recitals of the



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elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555). However,

plaintiffs are not required to “plead the elements of a cause of action along with facts supporting

each element.” Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago & Nw. Indiana, 786

F.3d 510, 517 (7th Cir. 2015). Rather, the complaint must provide a defendant “with ‘fair

notice’ of the claim and its basis.” Tamayo v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008)

(quoting Fed. R. Civ. P. 8(a)(2) and Twombly, 550 U.S. at 555). When evaluating a Rule

12(b)(6) motion, the court accepts the complaint’s well-pleaded factual allegations as true and

draws all reasonable inferences in the plaintiff’s favor. Twombly, 550 U.S. at 555-56.

                                           ANALYSIS

       Count I of the FAC alleges that Ajala violated Plaintiff’s Fourteenth Amendment rights

for deliberate indifference to Johnson’s medical condition. 1 (FAC ¶¶ 42-45.) Ajala has moved

to dismiss Count I of the FAC on the basis that the FAC, as pleaded, does not plausibly show

that Ajala caused Plaintiff’s alleged injury through deliberate indifference.

       “To establish deliberate indifference to a medical condition, a prisoner must show a

condition that is sufficiently serious (objective component) and that an official acted with a

sufficiently culpable state of mind in failing to address the condition (subjective component).”

Walker v. Benjamin, 293 F.3d 1030, 1037 (7th Cir. 2002); see also Estelle v. Gamble, 429 U.S.

97, 104-06 (1976); Smith v. Coe, 2016 WL 4540908, at *2 (S.D. Ill. Aug. 31, 2016). “[T]he

standard for deliberate indifference is satisfied by something less than acts or omissions for the

very purpose of causing harm or with knowledge that harm will result.” Walker, 293 F.3d at



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        In the FAC, Count II (Monell claim against Cook County Sheriff), Count III (Monell
claim against Cook County), and Count IV (supplemental state claim for indemnification by
Cook County) are not brought against Ajala personally.
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1037. Plaintiff, by claiming deliberate indifference, does not need to prove that the prison

officials intended, hoped for, or desired the harm that occurred. Id. It is enough for Plaintiff to

show that the Defendant actually knew of a substantial risk of harm to the prisoner and acted or

failed to act in disregard of that risk. Id.

        Ajala concedes that Plaintiff sufficiently alleged the objective element of deliberate

indifference. (Def.’s Reply at 3.) With respect to the subjective element of the deliberate-

indifference claim, however, Ajala argues that the FAC fails to state a claim for deliberate

indifference.

        As to the subjective component of deliberate indifference, an official “must both be

aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists, and he must also draw the inference.” Smith, 2016 WL 4540908, at *2-3 (citations

omitted). In the case when an official reasonably responds to a risk, even if harm was not

avoided, deliberate indifference does not exist. Id.

        Here, Ajala is alleged to have been involved in Johnson’s medical intake screening

process. (FAC ¶¶ 21, 43). Thus, Plaintiff alleges, Ajala knew or should have known that

Johnson was in serious need of medical care because Johnson notified the medical intake team of

his condition and provided a history of having been enrolled in a daily methadone treatment. (Id.

¶¶ 20, 22, 43). Plaintiff seeks to impose liability on Ajala for his failure to deliver methadone to

Johnson.

        However, Plaintiff fails to allege that Ajala, who Defendant identified as a pharmacist, 2

had acted with a sufficiently culpable state of mind in failing to address Johnson’s condition. In



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         Defendant’s Reply Brief identifies Ajala as a pharmacist. (Reply at pp. 5, 6.) In
considering a Rule 12(b)(6) motion, courts may consider evidence incorporated by reference in
the complaint. See, e.g., 188 LLC v. Trinity Indus., Inc., 300 F.3d 730, 735 (7th Cir. 2002).
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other words, Plaintiff failed to allege the requisite state of mind needed to demonstrate

“deliberate indifference.” Plaintiff does not provide any facts that indicate that Ajala refused to

fill a prescription, disregarded a course of treatment, or actually caused a delay in dispensing

medication. See Gutierrez v. Peters, 111 F.3d 1364, 1369-70, 1374 (7th Cir. 1997); Salazar v.

City of Chicago, 940 F.2d 233, 238 (7th Cir. 1991) (defendant has to be personally aware of the

serious risk of harm and deliberately imposed a risk); Wolf-Lille v. Sonquist, 699 F.2d 864, 869

(7th Cir. 1983) (an affirmative link between the misconduct complained of and the official sued

is necessary); see also, Majors v. Baldwin, 456 F. App’x 616, 617 (8th Cir. 2012) (“We . . .

conclude . . . that [the inmate] did state a deliberate-indifference claim . . . by alleging that [the

defendants] withheld prescribed pain medication and did not provide adequate post-operative

treatment.”); Johnson v. Hay, 931 F.2d 456, 462 (8th Cir. 1991) (concluding prisoner sufficiently

stated a claim against a prison pharmacist for deliberate indifference, noting that the pharmacist

“deliberately disregarded the very course of treatment prescribed by [the prisoner’s]

physicians”). While it is possible that Plaintiff may be able to state a claim against Ajala, she has

failed to do so in the FAC. Accordingly, Ajala’s Motion to Dismiss [51] is granted. However,

Plaintiff may file an amended pleading as set forth below.

                                           CONCLUSION

        For the reasons set forth above, Defendant’s Motion to Dismiss [51] is granted. Within

45 days from the date of this Order, Plaintiff may file an amended complaint, if she can do so

pursuant to Rule 11.



Date: 10/27/16
                                                        JOHN W. DARRAH
                                                        United States District Court Judge



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